Case 1:15-cv-01750-RBJ-CBS Document 5 Filed 08/17/15 USDC Colorado Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Civil Action No. 15-cv-01750-GPG

 JOHN A. CLAICE,

       Plaintiff,

 v.

 PARK COUNTY SHERIFF’S DEPT.,
 P.C. SHERIFF FRED WERGNER,
 P.C. UNDERSHERIFF MONTE GORE,
 P.C. JAIL ADMINISTRATOR CAPT. MULDOON,
 P.C. DEPUTY VERMILLO,
 P.C. DEPUTY CORPORAL COOPER, and
 P.C. DEPUTY BREWER,

       Defendants.


           ORDER DIRECTING PLAINTIFF TO FILE AMENDED COMPLAINT


       Plaintiff, John A. Claice, is a prisoner in the custody of the Colorado Department

 of Corrections. Mr. Claice has filed pro se a Prisoner Complaint (ECF No. 1) asserting

 one claim for relief pursuant to 42 U.S.C. § 1983. Mr. Claice contends his constitutional

 rights were violated in June 2015 while he was housed at the Park County Jail in

 Fairplay, Colorado. He seeks damages as relief.

       The court must construe the Prisoner Complaint liberally because Mr. Claice is

 not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972);

 Hall v. Bellmon, 935 F.2d 1106, 1110 (10 th Cir. 1991). However, the court should not be

 an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. Mr. Claice will be ordered

 to file an amended complaint if he wishes to pursue his claim in this action.
Case 1:15-cv-01750-RBJ-CBS Document 5 Filed 08/17/15 USDC Colorado Page 2 of 5




        Mr. Claice alleges that he was housed at the Park County Jail from May 29,

 2015, to June 24, 2015, while awaiting a parole revocation hearing. The constitutional

 claim in the Prisoner Complaint relates to the conditions of his confinement while he

 was housed in living unit D from May 29 until June 9. Mr. Claice asserts that Park

 County Jail officials failed to protect him from being assaulted by other inmates in living

 unit D who repeatedly sprayed his person, bunk, and bedding with a mixture of cleaning

 chemicals and bio-hazardous liquid containing urine and feces. Mr. Claice further

 alleges that he was physically assaulted by another inmate on June 9 and that he was

 removed from living unit D and placed in administrative segregation the same day for

 protecting himself from being assaulted. According to Mr. Claice, he informed jail

 officials about the issues he was having with other inmates by writing two kites to the

 shift commander on June 2 and June 3, filing a grievance addressed to Undersheriff

 Monte Gore on June 5, verbally complaining to Deputy Vermillo and requesting

 placement in protective custody on June 5, and writing a letter to Sheriff Fred Wergner

 on June 8. Mr. Claice maintains that Deputy Vermillo returned him to living unit D on

 June 5 after Mr. Claice requested placement in protective custody and that Deputy

 Vermillo informed gang members in living unit D that Mr. Claice was a sex offender.

 Mr. Claice also alleges that Deputy Pender, who is not named as a Defendant, was

 aware Mr. Claice was being assaulted by other inmates in living unit D and encouraged

 the assaults.

        Mr. Claice specifically asserts his failure to protect claim as a violation of the

 Fifth, Eighth, and Fourteenth Amendments. The court construes the claim as an Eighth

 Amendment claim because “the Eighth Amendment . . . serves as the primary source of

                                               2
Case 1:15-cv-01750-RBJ-CBS Document 5 Filed 08/17/15 USDC Colorado Page 3 of 5




 substantive protection to convicted prisoners.” Whitley v. Albers, 475 U.S. 312, 327

 (1986). In order to state an arguable Eighth Amendment claim Mr. Claice must allege

 facts that demonstrate deliberate indifference to a substantial risk of serious harm. See

 Farmer v. Brennan, 511 U.S. 825 (1994); Tafoya v. Salazar, 516 F.3d 912, 916 (10 th

 Cir. 2008). Deliberate indifference means that an official “may be held liable . . . only if

 he knows that inmates face a substantial risk of serious harm and disregards that risk

 by failing to take reasonable measures to abate it.” Farmer, 511 U.S. at 847.

        The Prisoner Complaint is deficient because Mr. Claice fails to allege specific

 facts that demonstrate each Defendant personally participated in the asserted Eighth

 Amendment violation. With respect to a number of the individual Defendants, Mr.

 Claice alleges only that he informed them of the alleged assaults in kites, grievances,

 and letters. However, even assuming the individuals to whom Mr. Claice corresponded

 actually received the kites, grievances, and letters, passive receipt of such

 correspondence does not demonstrate those individuals were deliberately indifferent to

 a substantial risk of serious harm. See Davis v. Ark. Valley Corr. Facility, 99 F. App’x

 838, 843 (10 th Cir. 2004) (“Copying [the prison warden] with correspondence outlining

 [an inmate’s] complaints about medical care, without more, does not sufficiently

 implicate the warden under § 1983.”).

        “Individual liability under § 1983 must be based on personal involvement in the

 alleged constitutional violation.” Foote v. Spiegel, 118 F.3d 1416, 1423 (10 th Cir. 1997).

 Thus, allegations of “personal participation in the specific constitutional violation

 complained of [are] essential.” Henry v. Storey, 658 F.3d 1235, 1241 (10 th Cir. 2011).

 A defendant may not be held liable for the unconstitutional conduct of his or her

                                               3
Case 1:15-cv-01750-RBJ-CBS Document 5 Filed 08/17/15 USDC Colorado Page 4 of 5




 subordinates on a theory of respondeat superior. See Ashcroft v. Iqbal, 556 U.S. 662,

 676 (2009). Although a defendant can be liable in a § 1983 action based on his or her

 supervisory responsibilities, a claim of supervisory liability must be supported by

 allegations that demonstrate personal involvement, a causal connection to the

 constitutional violation, and a culpable state of mind. See Schneider v. City of Grand

 Junction Police Dept., 717 F.3d 760, 767-69 (10 th Cir. 2013) (discussing standards for

 supervisory liability).

          Mr. Claice also fails to allege facts that would support an arguable Eighth

 Amendment claim against Defendants in their official capacities. Official capacity suits

 “generally represent only another way of pleading an action against an entity of which

 an officer is an agent.” Monell v. Department of Social Services, 436 U.S. 658, 690

 n.55 (1978). Therefore, Mr. Claice’s claim against Defendants in their official capacities

 must be construed as a claim against Park County. However, Mr. Claice cannot state a

 cognizable claim for relief against Park County unless he demonstrates he suffered an

 injury caused by a municipal policy or custom. See Schneider v. City of Grand Junction

 Police Dept., 717 F.3d 760, 769-71 (10 th Cir. 2013) (discussing Supreme Court

 standards for municipal liability); Dodds v. Richardson, 614 F.3d 1185, 1202 (10 th Cir.

 2010).

          Mr. Claice will be ordered to file an amended complaint that clarifies the

 constitutional claim he is asserting and what each Defendant did that allegedly violated

 his rights. See Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163 (10 th

 Cir. 2007) (noting that, to state a claim in federal court, “a complaint must explain what

 each defendant did to him or her; when the defendant did it; how the defendant’s action

                                               4
Case 1:15-cv-01750-RBJ-CBS Document 5 Filed 08/17/15 USDC Colorado Page 5 of 5




 harmed him or her; and, what specific legal right the plaintiff believes the defendant

 violated”). The general rule that pro se pleadings must be construed liberally has limits

 and “the court cannot take on the responsibility of serving as the litigant’s attorney in

 constructing arguments and searching the record.” Garrett v. Selby Connor Maddux &

 Janer, 425 F.3d 836, 840 (10 th Cir. 2005). Finally, “[i]t is sufficient, and indeed all that is

 permissible, if the complaint concisely states facts upon which relief can be granted

 upon any legally sustainable basis.” New Home Appliance Ctr., Inc., v. Thompson, 250

 F.2d 881, 883 (10 th Cir. 1957). Accordingly, it is

        ORDERED that Mr. Claice file, within thirty (30) days from the date of this

 order, an amended complaint as directed in this order. It is

        FURTHER ORDERED that Mr. Claice shall obtain the court-approved Prisoner

 Complaint form (with the assistance of his case manager or the facility’s legal

 assistant), along with the applicable instructions, at www.cod.uscourts.gov. It is

        FURTHER ORDERED that, if Mr. Claice fails to file an amended complaint that

 complies with this order within the time allowed, the action will be dismissed without

 further notice to the extent Mr. Claice is suing Defendants who did not personally

 participated in the asserted constitutional violation.

        DATED August 17, 2015, at Denver, Colorado.

                                                    BY THE COURT:

                                                            S/ Gordon P. Gallagher


                                                    United States Magistrate Judge




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